           Case 22-60043 Document 60 Filed in TXSB on 08/12/22 Page 1 of 4




                      IN THE UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 In re:                                            §                Case No. 22–60043
                                                   §
 FREE SPEECH SYSTEMS, LLC,                         §                    Chapter 11
                                                   §                   Subchapter V
           Debtor.                                 §


    THE TEXAS PLAINTIFFS’ WITNESS AND EXHIBIT LIST FOR HEARING
 SCHEDULED FOR AUGUST 12, 2022 AT 1:00 P.M. (PREVAILING CENTRAL TIME)


          Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and Marcel Fontaine

(collectively, “Texas Plaintiffs”), creditors and parties-in-interest in the above-captioned case, file

their Witness and Exhibit List for the hearing to be held on August 12, 2022, at 1:00 p.m.

(prevailing Central Time) as follows:

                                           WITNESSES

          The Sandy Hook Plaintiffs may call the following witnesses at the Hearing:

             1. W. Marc Schwartz.

             2. Patrick Reiley.

             3. Any witness called or designated by any other party.

             4. Any witness necessary to rebut the evidence or testimony of any witness offered or
                designated by any other party.




TEXAS PLAINTIFFS’ WITNESS AND EXHIBIT LIST FOR HEARING ON AUGUST 12, 2022                      PAGE | 1
             Case 22-60043 Document 60 Filed in TXSB on 08/12/22 Page 2 of 4




                                             EXHIBITS
   EXHIBIT




                                                                      OBJECT

                                                                               ADMIT
                                                              OFFER
                                                       MARK
                                                                                             DISPOSITION




                                                                                       W/D
                         DESCRIPTION
                                                                                             AFTER TRIAL


      1.       Certificate of Formation | Limited
               Liability Company for Blue Asension
               Logistics LLC

      2.       Email from aj76@alexjones.net to
               Patrick@infowars.com dated
               6/22/2018 regarding Phone Call with
               Marc Randazza
      3.       Email from aj76@alexjones.net to
               Patrick@infowars.com dated
               7/5/2016 regarding Boat Dock after
               the 4th

      4.       Blue Asension Logistics Price List
               dated 7/18/22

      5.       Declaration of W. Marc Schwartz in
               Support of Voluntary Petition and
               First Day Motions [Docket No. 10].
      6.       Text messages between Alex Jones
               and Patrick Reiley

      7.       Any document or pleading filed in the
               above-captioned main cases

      8.       Any exhibit necessary for
               impeachment and/or rebuttal
               purposes

      9.       Any exhibit identified or offered by
               any other party




TEXAS PLAINTIFFS’ WITNESS AND EXHIBIT LIST FOR HEARING ON AUGUST 12, 2022                       PAGE | 2
        Case 22-60043 Document 60 Filed in TXSB on 08/12/22 Page 3 of 4




                                 RESERVATION OF RIGHTS

       The Sandy Hook Plaintiffs reserve the right to call or to introduce one or more, or none, of

the witnesses and exhibits listed above, and further reserve the right to supplement this list prior

to the Hearing.

       Dated: August 12, 2022

                                                        MCDOWELL HETHERINGTON LLP

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                                                        Counsel for the Texas Plaintiffs

                                                        AND

                                                        CHAMBERLAIN, HRDLICKA, WHITE,
                                                             WILLIAMS & AUGHTRY, PC

                                                        By: /s/ Jarrod B. Martin
                                                        Jarrod B. Martin
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                                                        Bankruptcy Counsel for the Texas Plaintiff




                                      Certificate of Service
        I certify that on August 12, 2022, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.


TEXAS PLAINTIFFS’ WITNESS AND EXHIBIT LIST FOR HEARING ON AUGUST 12, 2022                   PAGE | 3
        Case 22-60043 Document 60 Filed in TXSB on 08/12/22 Page 4 of 4




                                                      /s/ Jarrod B. Martin
                                                      Jarrod B. Martin




TEXAS PLAINTIFFS’ WITNESS AND EXHIBIT LIST FOR HEARING ON AUGUST 12, 2022    PAGE | 4
